Case 2:20-cv-14291-DMM Document 6 Entered on FLSD Docket 11/02/2020 Page 1 of 2


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 20-CV-14291-MIDDLEBROOKS/Reid

  LAGERIAN THURSTON,

         Plaintiff,

  v.

  ST. LUCIE COUNTY SHERIFF’S
  DEPARTMENT, et al.,

        Defendants.
  _________________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court on Magistrate Judge Lisette M. Reid’s Report and

  Recommendation (“Report”), filed October 2, 2020. (DE 4). The Report recommends dismissal of

  Plaintiff’s Complaint on jurisdictional grounds. (DE 1). Plaintiff did not file timely objections to

  the Report.1

         In his Complaint, Plaintiff does not bring any cause of action but instead sets forth certain

  facts underlying his state court criminal case that led to what Plaintiff claims is a wrongful

  conviction. Ultimately, Plaintiff requests the “advice” of this Court on how he should proceed

  given these facts. (DE 1 at 6). The Report concludes that Plaintiff seeks an impermissible advisory

  opinion, instead of bringing a live case or controversy, and therefore must be dismissed for lack

  of justiciability. After a careful review of Judge Reid’s Report and the record in this case, I agree

  with the Report’s recommendations. Accordingly, it is hereby

         ORDERED AND ADJUDGED that:


  1
    However, on October 23, 2020, one week after the objections period had expired, Plaintiff
  submitted a filing, which he styled as “Motion of Forma Pauperis too Proceed in Lawsuit [sic].”
  (DE 5 at 1). Careful review of this largely unintelligible submission reveals that it does not respond
  in any substantive way to Judge Reid’s factual findings or legal conclusions. For this reason, I
  decline to construe Plaintiff’s Motion as objecting to the Report.
Case 2:20-cv-14291-DMM Document 6 Entered on FLSD Docket 11/02/2020 Page 2 of 2


     (1) The Report (DE 4) is RATIFIED, ADOPTED, AND APPROVED in its entirety.

     (2) This case is DISMISSED.

     (3) The Clerk of Court is DIRECTED to CLOSE THIS CASE and DENY all pending

        Motions as MOOT.

  SIGNED in Chambers in West Palm Beach, Florida, this 30th day of October, 2020.




                                                         Donald M. Middlebrooks
                                                         United States District Judge




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